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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 HALL DATA SYNC TECHNOLOGIES
 LLC,

                                                       NO. 2:15-cv-006-JRG (LEAD)
                Plaintiff,
                                                           NO. 2:15-cv-0021-JRG
        v.

 MICROSOFT CORPORATION,,

                Defendant.


                                           ORDER

       The Stipulated Motion for Dismissal with Prejudice of all claims (Dkt. No. 70) brought by
    .
Plaintiff Hall Data Sync Technologies LLC against Defendant Microsoft Corporation is GRANTED.
       It is therefore ORDERED, ADJUDGED AND DECREED that all claims asserted in this

suit between Plaintiff Hall Data Sync Technologies LLC and Defendant Microsoft Corporation

are hereby DISMISSED WITH PREJUDICE.

       IT IS FURTHER ORDERED that all costs, expenses and attorneys’ fees are to be borne

by the party that incurred them.
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 18th day of May, 2015.




                                                       ____________________________________
                                                       RODNEY GILSTRAP
                                                       UNITED STATES DISTRICT JUDGE
